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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


BONNIE HERNANDEZ,

       Plaintiff,

vs.                                                  Case No. 4:23cv319-MW-MAF

UNITED STATES OF AMERICA,

     Defendant.
___________________________/


                            ORDER TO SHOW CAUSE

       Plaintiff, represented by counsel, filed a complaint on July 24, 2023.

ECF No. 1. The complaint presents a negligence claim pursuant to the

Federal Tort Claims Act, and it appears that a summons was returned

executed on August 1, 2023, ECF No. 6, making an answer to the

complaint due on or before September 25, 2023. At this point, a notice of

appearance of counsel has not yet been filed for the Government.

       Nevertheless, Plaintiff’s complaint was reviewed soon after filing to

ensure that jurisdiction1 exists. Following that review, an Order was

       1
         “Federal courts have an independent obligation to ensure that subject-matter
jurisdiction exists before reaching the merits of a dispute.” Jacobson v. Fla. Sec’y of
State, 974 F.3d 1236, 1245 (11th Cir. 2020).
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entered pointing out that the complaint omits any mention of when and how

Plaintiff exhausted administrative remedies. The Federal Tort Claims Act

(FTCA) “bars claimants from bringing suit in federal court until they have

exhausted their administrative remedies.” McNeil v. United States, 508

U.S. 106, 113, 113 S. Ct. 1980, 1984, 124 L. Ed. 2d 21 (1993). Because

the administrative exhaustion requirement is jurisdictional2 and a “federal

court may not exercise jurisdiction over a suit under the FTCA unless” the

Plaintiff has exhausted administrative remedies, Suarez v. United States,

22 F.3d 1064, 1065 (11th Cir. 1994) (citing 28 U.S.C. § 2675(a)), Plaintiff

was required to file a response which demonstrates that administrative

remedies were exhausted prior to filing this lawsuit. ECF No. 8. Plaintiff’s

response was due on or before August 23, 2023, but as of this date,

nothing further has been filed.

      Plaintiff must now do two things. First, Plaintiff must demonstrate

exhaustion of administrative remedies. Second, Plaintiff must show good

cause for failing to comply with the prior Order. Plaintiff’s deadline is



      2
        Notably, the Bureau of Prisons “has promulgated regulations describing how
prisoners should file administrative FTCA claims against the BOP.” Douglas v. United
States, 814 F.3d 1268, 1279 (11th Cir. 2016) (citing 28 C.F.R. § 543.30).

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September 11, 2023. If Plaintiff does not respond, a recommendation will

be made to dismiss this case.

      Accordingly, it is

      ORDERED:

      1. Plaintiff must file a response to this Order no later than

September 11, 2023, which demonstrates that Plaintiff exhausted

administrative remedies prior to initiating this lawsuit.

      2. Plaintiff must file a response to this Order no later than

September 11, 2023, which shows good cause for the failure to comply

with the prior Order, ECF No. 8.

      3. The Clerk of Court shall return this file upon receipt of Plaintiff’s

response to this Order or no later than September 12, 2023.

      DONE AND ORDERED on September 1, 2023.



                                    S/ Martin A. Fitzpatrick
                                    MARTIN A. FITZPATRICK
                                    UNITED STATES MAGISTRATE JUDGE




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